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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOHN RAPILLO and HEIDI RAPILLO,


     Plaintiffs,

     -against-



BARRY      FINGERHUT,   DAVID    HOLZER,
FINGERHUT-HOLZER       PARTNERS     LLC, Index         No.   09-CIV-10429
FINGERHUT-HOLZER       EQUITIES,    INC.,
FINGERHUT-HOLZER,     INC.,  FINGERHUT- (VSB)
HOLZER FUND L.P., GEO-CAPITAL PARTNERS,
INC., FINGERHUT-HOLZER THE WAVERLY I,
LLC., FINGERHUT-HOLZER THE WAVERLY II,
LLC., LESLIE HOLZER, DOUGLAS HOLZER,
JENNIFER HOLZER, JOSHUA HOLZER and
JOSEPH HOLZER,
      Defendants.




  MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S RULE 60(B)
                        MOTION.



                     FOLKENFLIK & McGERITY LLP
                        1500 Broadway, Suite 812
                          New York, N.Y. 10036
                              212-757-0400
                         212-757-2010 Facsimile

                          Attorneys for Defendants
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOHN RAPILLO and HEIDI RAPILLO,

                                                Index   No.   09-CIV-10429
      Plaintiffs,
                                                (VSB)
      -against-


                                          MEMORANDUM        OF
BARRY      FINGERHUT,   DAVID    HOLZER, LAW IN OPPOSITION TO
FINGERHUT-HOLZER       PARTNERS     LLC, PLAINTIFF’S RULE 60(B)
FINGERHUT-HOLZER       EQUITIES,    INC., MOTION.
FINGERHUT-HOLZER,     INC.,  FINGERHUT-
HOLZER FUND L.P., GEO-CAPITAL PARTNERS,
INC., FINGERHUT-HOLZER THE WAVERLY I,
LLC., FINGERHUT-HOLZER THE WAVERLY II,
LLC., LESLIE HOLZER, DOUGLAS HOLZER,
JENNIFER HOLZER, JOSHUA HOLZER and
JOSEPH HOLZER,
      Defendants.




     Defendants Barry Fingerhut and Defendants Fingerhut-Holzer

Partners LLC (hereinafter “Partners LLC”), Fingerhut-Holzer Equities,

Inc., Fingerhut-Holzer, Inc., Fingerhut-Holzer Fund, L.P., Geo-Capital

Partners, Inc., Fingerhut-Holzer The Waverly I, LLC, Fingerhut-Holzer

The Waverly II, LLC, (collectively the “Entity Defendants”), by their

attorneys, Folkenflik & McGerity LLP, hereby submit this Memorandum

of Law in Support in Opposition to Plaintiffs’ Motion under Rule 60(b).




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  THERE IS NO BASIS IN FACT OR LAW FOR REVISITING THIS
  COURT’S PRIOR DISMISSAL OF PLAINTIFFS’ CASE AGAINST
        FINGERHUT AND THE ENTITY DEFENDANTS

         A. The Undisputed Facts Show No Liability for Fingerhut or
            the Entity Defendants


     This is an action by Plaintiffs John Rapillo and Heidi Rapillo (the

“Rapillos”) who were defrauded by defendant David Holzer (“Holzer”) out

of $1.6 million windfall they had received in a personal injury action.

Represented by experienced counsel, the Rapillos sought to hold

Defendant Barry Fingerhut(“Fingerhut”) and the Entity Defendants

liable for their loss, even though they had no factual basis for those

claims. Fingerhut had also been defrauded by Holzer, in his case, out of

over $11 million.

     The Rapillos knew that Fingerhut did not accept, and would refuse

to accept, any money from the Rapillos. In a misguided attempt to evade

Fingerhut’s limitation on acceptable investors, the Rapillos gave their

money to Holzer who claimed he would split his earnings with them, if

they gave Holzer their money (wired to his personal bank account).

Holzer stole that money and had no earnings to split in any event.




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       Nearly three years ago, in a 39 page Opinion, this Court granted

Summary Judgment dismissing Plaintiff’s case against Fingerhut and

the Entity Defendants.1 The case against Holzer remained. Plaintiffs’

counsel’s pre-mature attempt to appeal that dismissal was dismissed by

the Second Circuit. On January 6, 2017, Plaintiffs’ counsel moved to

withdraw due to a conflict as to whether to accept the ruling from this

Court. See, Dkt. No. 91-1 at ¶1. Since then, Plaintiffs have proceeded

pro se. After years of claiming that they wanted to file a Rule 60 Motion

(and requested extensions of time to do so), Plaintiffs simply ignored the

Court’s September 1, 2018 deadline, see, Order 4/27/18 Dkt. No. 123, and

filed this Rule 60 Motion seeking reversal of the Court’s carefully

reasoned Opinion, essentially on grounds already rejected by this Court

in connection with an earlier application.                               See, Memorandum

Endorsement, 12/19/18 Dkt. No. 130.

       Leaving aside the fatal procedural flaws, Plaintiffs simply have no

case on the merits against these Defendants. As to the investment in

Fingerhut Holzer The Waverly I LLC (“Waverly I”), as this Court found,

“it is undisputed that Waverly I was a legitimate investment….” Opn. at


1 The Court’s Opinion is annexed to the Declaration of Max Folkenflik dated July 26, 2019 and is cited
“Opn. at ______” with appropriate page references.


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23. Once again, as before, “Plaintiffs fail to even address the fact that

Waverly I was a legitimate investment which failed for a variety of

reasons.” See Pls.’ 56.1 Stmt. ¶ 17. Instead, Plaintiffs respond with

improper narrative and legal argument unrelated to Waverly I. See,

Opn. at 7, n. 13.

     As to all of the transfers of funds to Holzer, Plaintiffs want to shift

responsibility to Fingerhut and the Entity Defendants for Plaintiffs’

foolish (and truth be told greedy) decisions to give money to Holzer. But,

Plaintiffs’ sworn testimony makes clear that Plaintiffs’ transfers to

Holzer were intended to be concealed from Fingerhut. Opn. at 26. “[T]he

Rapillos both understood that Defendants did not accept investments

from individual investors such as themselves.” Opn,at 6 citing HR Tr.

9:17-10:15. The Rapillos knew that Fingerhut and Fingerhut-Holzer

Partners “only [got] involved with” investments from “large companies,

[or] large corporations….” Opn. at 6, citing JR Tr. 19:4-5.

      Plaintiffs’ “position,” that Fingerhut “knew” that Holzer was not

investing his own money, Plaintiffs Mem. At 2, is unsupported by any

facts. There is not a shred of evidence that Fingerhut or any of the Entity

Defendants had any awareness of Plaintiffs’ transfers to Holzer until



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Fingerhut was informed of those frauds by the District Attorney’s office.

Opn. at 12-13. As this Court found, “[n]ot only do Plaintiffs fail to cite

any evidence to support their conclusory assertion that Fingerhut knew

of their ‘pooling’ arrangement with Holzer, there is ample evidence in the

record, including the Rapillos’ deposition testimony, that belies their

assertion” that Fingerhut ever “knew” of Plaintiffs transfers of money to

Holzer. Opn. at 13. Plaintiffs have not cited and cannot cite any evidence

that Fingerhut ever had such knowledge. See. Opn. at 12-13 and n. 17.

     “[T]he Rapillos did not communicate or correspond with Fingerhut

until some point in 2007, approximately one year after the Rapillos’ last

wire transfer to Holzer’s personal bank account in March 2006.” Opn at

11, citing Pls.’ 56.1 Stmt. ¶ 10; JR Tr. 7:14-9:13. Mr. Rapillo testified that

he never spoke to Fingerhut “about anything” until after Holzer was

arrested. Opn at 11, citing, JR Tr. 106:8-11. The communications Ms.

Rapillo had with Jackie Cohen, an administrative assistant who worked

for Partners LLC, also related solely to Waverly I and were ministerial

in nature. Opn.at 11, citing HR Tr. 26:6-16. Other than those ministerial

communications concerning the Waverly I investment, which was

legitimate, Opn. at 7, , there “is no evidence in the record …



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demonstrating that Fingerhut or any Movant communicated or

interacted with the Rapillos. Opn. at 11-12, citing Pls.’ 56.1 Stmt. ¶¶ 14,

28.

       It is yet again true on this Motion, as this Court found in connection

with    the   prior   Motion   to   dismiss,   that   “Plaintiffs   repeatedly

mischaracterize and/or attempt to obfuscate the undisputed facts

relating to (i) the timing of their communications with Movants, and (ii)

the subject of those communications in an attempt to make it appear as

though Fingerhut interacted with the Rapillos earlier and about more

subjects than he did. (See, e.g., Pls.’ 56.1 Stmt. ¶¶ 14, 16.).”

       For example, on this Motion, Mr. Rapillo filed a Declaration citing

Fingerhut’s alleged post-theft communications with Holzer seeking

repayment of the multi-million dollar amounts Holzer stole from

Fingerhut.     Those communications would have been appropriate no

matter when they occurred, but since they occurred in the spring of 2007,

See John Rapillo Declaration, Dkt. 139, p. 1, more than a year after

Holzer had received all of the transfers from Plaintiffs, there is no

possible relevance to Holzer’s crimes. Plaintiffs’ reliance on post-theft

communications as “evidence” of improper pressure that caused Holzer



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to steal Plaintiffs’ money reveals Plaintiffs’ bad faith on this Motion,

rather than any liability by Fingerhut.

     Plaintiffs’ Memorandum of Law is replete with unsupported

conclusory assertions and outright fabrications of claims contrary to their

own sworn testimony and contrary to undeniable and undenied facts.

Fingerhut and Holzer were not “partners” in Partners LLC, as Plaintiffs

falsely claim. Plaintiffs’ Mem. at 1. Fingerhut Holzer Partners LLC was

not a partnership. It was a limited liability corporation. See Opn. at 4-

5, n. 10. Plaintiffs did not invest in Partners LLC as they falsely assert

in their Memorandum of Law on this Motion. Plaintiffs’ Mem. at 1.

Plaintiffs $1,600,000 was “wired to Holzer’s personal bank account” with

the understanding that he would “pool” their money with him and share

his earnings with them. Opn. at 6 and 12, citing HR Tr. 51:4.

     There were some ordinary course payments from Holzer to Partners

LLC, but the evidence Plaintiffs’ cite to prove that was money Holzer

received from Plaintiffs does not show any such thing.           Compare

Plaintiffs’ Mem. at 4 (claiming the Rowe Affirmation confirms that of the

$800,000 given to Holzer by Plaintiffs, $200,000 received from Plaintiffs

was “transferred to Fingerhut’s personal account and $140,000 was



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transferred to Partners LLC) with Shannon Rowe’s Affirmation at ¶ 10,

15, 17,-18, (showing a series of ordinary course payments from Holzer to

Partners LLC on various dates and a $200,000 payment to Fingerhut

prior to the $800,000 transfer on an antecedent debt of over $1 million).

Just whose money was used to fund these transfers is unclear.

     Holzer admitted that he used the Rapillos’ money for his own

purposes and did not invest any of the $1,600,000.00 on behalf of the

Rapillos. Specifically, Holzer said that he “represented to [the Rapillos

that he] would invest their money in a movie theater and penthouse

project. In fact, [he] did not invest any money on their behalf.” Holzer

“treated $1.6 million of the Rapillos’ money as his own money…and he

did not transfer any of the Rapillos’ money to Fingerhut.” Opn. at 9-10,

citing Holzer Allocution, Folkenflik Decl. Ex. B; 11:16-24; DH Tr. 113:7

to 114: 25,115:7-11.

     Plaintiffs cite to the fact that Holzer used $500,000 of their money

to invest in V-Campus and that later Holzer assigned his interest in all

of Partners LLC investment to Fingerhut, which would have included

Holzer’s V-Campus shares. Plaintiffs’ Mem. at 3-4. That assignment was

certainly appropriate.    The record is clear that Holzer defrauded



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Fingerhut out of over $12 million. Rowe Aff. ¶ 7., Plaintiffs’ Exhibit 1.

In all events, V-Campus became insolvent and the equity, including

Holzer’s assigned shares, all became worthless. Plaintiffs’ Exhibit 3,

Fingerhut Tr. 151:18-154:24, Doc 139:111-112.

     Even if Holzer had used the Rappillo’s money to pay his obligations

to Partners LLC or Fingerhut, which the record refutes, under New York

law that would not give Plaintiffs a right to recover those funds.

Moreover, it is unjust, and indeed absurd, for Plaintiffs’ to claim that they

should receive return of their losses from another victim of Holzer’s

frauds, particularly a victim who Plaintiffs knew never wanted to have

anything to do with Plaintiffs’ money.

     Plaintiffs’ sole remedy is against Holzer. The restitution judgment

properly allocates any recovery from Holzer pro rata to all of Holzer’s

fraud victims. That judgment provides Plaintiffs with the only justice

they deserve.



  B. There Is No Legal Basis for The Relief Requested or Any Other
  Relief




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  While we appreciate the Court’s desire to give the Pro Se Plaintiffs

every opportunity to make their case for reversal of the prior Order, the

Plaintiffs’ papers make clear that they have no basis for relief. Relief

under Rule 60 is completely inappropriate because none of the grounds

for Rule 60 relief are present here. Rule 60 of the Federal Rules of Civil

Procedure provides for relief from a judgment on a variety of grounds

including     “newly      discovered     evidence”      (Rule     60(b)(2)),

“fraud…misrepresentation or misconduct of an opposing party,” (Rule

60(b)(3)), or “any other reason that justifies relief.”    (Rule 60(b)(6)).

Moreover, the prior order is not “final,” see, Folkenflik Decl. Ex. C,

Rapillo v. Fingerhut, Case No.16-3393 Order 2/27/17 (dismissing appeal

due to absence of a final order). That dismissal, by itself proves Rule 60

relief is unavailable. Transaero, Inc. v La Fuerza Aerea Boliviana, 99

F3d 538, 541 (2d Cir 1996); see, also, Grace v. Rosenstock, 228 F.3d 40,

51 (2d Cir. 2000) (prior to final judgment, all orders are interlocutory).

     Further, the Motion is untimely. Rule 60(c)(1), headed “Timing,”

provides that “[a] motion under Rule 60(b) must be made within a

reasonable time—and for reasons (1), (2), and (3) no more than a year

after the entry of the judgment or order or the date of the proceeding.”



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Fed. R. Civ. Proc. Rules, 60(b) and 60(c). Even under Rule 60(b)(6), the

motion must be made within a “reasonable time.” A motion under Rule

60(b)(6) filed more than a year after final judgment is generally untimely

unless “‘extraordinary circumstances’ excuse the party's failure to

proceed sooner.” Gordon v. Monoson, 239 F. App'x 710, 713 (3d Cir.

2007), citing, Ackermann v. United States, 340 U.S. 193, 202, (1950);

Klapprott v. United States, 335 U.S. 601, 613-14, (1949); 11 Charles Alan

Wright et al., Federal Practice & Procedure §2864, at 357 (2d ed. 1995).

       It cannot be considered in effect a Motion for Reargument or

Renewal because prior counsel allowed that 14-day deadline to pass

nearly three years ago, and there is no fact nor any issue of law that the

Court overlooked. Local Rules of the Southern District of New York, Rule

6.3.

       In support of their Motion to Dismiss, Fingerhut and the Entity

Defendants submitted the Deposition testimony of both Plaintiffs and

Holzer, Holzer’s criminal allocution, documentary evidence of Plaintiffs’

investments in opposition to the Motion to Dismiss, and Plaintiffs’ prior

counsel submitted extensive papers in opposition to the Motion (complete

with 22 Exhibits). See, Dkt. No. 80. All of the legal, equitable, and



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factual claims and all of the conclusory, false, and unsupported claims

Plaintiffs now raise were raised by prior counsel in the papers in

opposition.   See, Folkenflik Ex. D, Plaintiffs’ Mem. in Opposition to

Motion to Dismiss.

     The papers submitted no new material evidence. The one exhibit

Plaintiffs’ claim should have been submitted that was not, was the

largely hearsay Affidavit of Shannon Rowe, an investigator at the

District Attorney’s office based in substantial part on the work of a

different investigator, Nick Cangro. The Rowe Affirmation merely shows

the dates of various transfers from Plaintiffs and other Holzer victims,

including Fingerhut, to Holzer. It also shows dates of some transfers

from Holzer to Partners LLC and the “assignment” of the V-Campus

shares. Plaintiffs argue that Fingerhut and Partners are required to pay

Plaintiffs for those transfers and for that “assignment.” That very same

argument was made in substantially the same terms in the

Memorandum of Law submitted on the Motion to Dismiss. See, id. at 23.

     Even if, contrary to fact, Holzer had used the money he fraudulently

received from Plaintiffs to make payments to Fingerhut of Partners LLC,

the law in New York “rule favor[s] innocent transferees of stolen funds



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over defrauded owners [because of] New York's ‘concern for finality in

business transactions.’” Commodity Futures Trading Commn. v Walsh,

17 NY3d 162, 172-173 [2011]) quoting Banque Worms v BankAmerica

Intl., 77 N.Y.2d 362, 372 (1991). Accordingly, “money obtained by fraud

or felony cannot be followed by the true owner into the….hands of one

who has received it bona fide and for a valuable consideration in due

course of business.” Id., quoting Stephens v Board of Educ. of Brooklyn,

79 N.Y. 183, 186 (1879).

     Similarly, “under New York law, preferring one creditor over

another is neither actually nor constructively fraudulent. D.C.A. Grantor

Trust v Republic of Argentina, 616 F App'x 30, 33 (2d Cir 2015), citing,

In re Sharp Int'l Corp., 403 F.3d 43, 56 (2d Cir. 2005); HBE Leasing Corp.

v. Frank, 48 F.3d 623, 634 (2d Cir. 1995). While Plaintiffs’ repeatedly

claim fraud, there was no wrongdoing at all, let alone fraud, by Fingerhut

or the Entity Defendants.For these reasons, as well as for the reasons

cited in this Court’s prior opinion, Plaintiffs have no case against

Fingerhut or the Entity Defendants.




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                            CONCLUSION


     For all of the above reasons, Plaintiffs Motion should be denied, and

costs should be awarded against the Plaintiffs.


Dated: New York, New York
       July 26, 2019

                                             Respectfully submitted,


                                             By:   /s/ Max Folkenflik

                                             Max Folkenflik
                                             1500 Broadway, Suite 812
                                             New York, New York 10036
                                             (212) 757-0400




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